         Case 4:17-cr-00403-MWB Document 146 Filed 07/20/21 Page 1 of 25




                 IN THE UNITED STATES DISTRICT COURT
               FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

    UNITED STATES OF AMERICA,                               No. 4:17-CR-00403

         v.                                                 (Judge Brann)

    RAYMOND KRAYNAK,

                Defendant.

                               MEMORANDUM OPINION

                                         JULY 20, 2021

        Currently pending before the Court are several pretrial motions filed by

Raymond Kraynak.1 For the following reasons, those motions will be denied.

I.      BACKGROUND

        In 2017, Kraynak was indicted on nineteen separate charges related to his

conduct as a physician who was licensed to prescribe Schedule II, III, IV, and V

controlled substances.2 In Counts 1 through 12, Kraynak is charged with unlawfully

distributing and dispensing a controlled substance to twelve different individuals, in

violation of the Controlled Substances Act, 21 U.S.C. § 841(a)(1) and (b)(1)(C).3


1
     Docs. 106, 108, 110, 112, 114.
2
     Doc. 3.
3
     Id. at 15-17. The indictment alleges that Kraynak dispensed controlled substances as follows:
     Count 1—hydrocodone to R.C. from December 21, 2012 to May 2, 2015; Count 2—oxycodone
     to F.H. from December 21, 2012 to July 31, 2014; Count 3—oxycodone to D.H. from June
     2013 to February 17, 2015; Count 4—oxycodone to A.K. from December 21, 2012 to October
     24, 2013; Count 5—hydrocodone to M.L. from December 21, 2012 to October 15, 2014; Count
     6—oxycodone to C.S. from December 21, 2012 to April 29, 2014; Count 7—oxycodone to
     D.B. from January 2014 to October 5, 2014; Count 8—oxycodone to W.E. from December 21,
     2012 to December 14, 2014; Count 9—oxycodone to F.G. from December 21, 2012 to
     February 10, 2013; Count 10—oxycodone to T.M. from December 21, 2012 to April 28, 2014;
        Case 4:17-cr-00403-MWB Document 146 Filed 07/20/21 Page 2 of 25




Counts 13 through 17 allege unlawful distributing and dispensing of a controlled

substance resulting in death, in violation of 21 U.S.C. § 841(a)(1) and (b)(1)(C).4

Finally, Counts 18 and 19 allege that Kraynak maintained two drug-involved

premises, in violation of 21 U.S.C. § 856(a)(1).5

       As alleged in the indictment, Kraynak is a Doctor of Osteopathy and, in that

capacity, he was previously disciplined by the Commonwealth of Pennsylvania

Department of State, Board of Osteopathic Medicine (the “Board”) for allegedly

failing to maintain proper documentation to justify controlled substance

prescriptions, and for failing to take other appropriate actions with respect to those

prescriptions.6 The Government alleges that, from May 2012 until January 2016,

Kraynak prescribed 3,622,598 oxycodone pills, which accounted for 80.62% of the

controlled substances that he prescribed during that period and that, from January 1,

2016 until July 31, 2017, Kraynak “prescribed an aggregate of 2,792,490 dosage

units of oxycodone, hydrocodone, OxyContin[,] and fentanyl to approximately

2,838 patients,” which “made Kraynak the top prescriber for all of the

Commonwealth of Pennsylvania for these controlled substance during this 19-month


    Count 11—fentanyl to J.S. from January 2013 to July 6, 2016; and Count 12—oxycodone to
    R.W. from February 2013 to September 15, 2016.
4
    Id. at 18-19. The indictment alleges that Kraynak distributed controlled substances causing
    death as follows: Count 13—alprazolam, hydrocodone, and carisoprodol to R.C. on or about
    May 2, 2015; Count 14—oxycodone to D.H. on or about February 17, 2015; Count 15—
    oxycodone and alprazolam to A.K. on or about October 24, 2013; Count 16—temazepam,
    alprazolam, and hydrocodone to M.L. on or about October 15, 2014; and Count 17—
    oxycodone, carisoprodol, diazepam, and zolpidem to C.S. on or about April 29, 2014.
5
    Id. at 20-21.
6
    Id. at 1-3.
                                               2
         Case 4:17-cr-00403-MWB Document 146 Filed 07/20/21 Page 3 of 25




period of time.”7 These numbers allegedly resulted from Kraynak’s practice of

prescribing controlled substances outside of the usual course of professional practice

and without a legitimate medical purpose.8

        The Government further avers that Kraynak’s medical records demonstrate

that his patient files frequently were “incomplete or missing and . . . failed to contain

the required information regarding symptoms observed and reported, diagnosis of

condition, direction for use, changes in symptoms observed and reported in their

diagnosis of the condition for which the controlled substance was being given and

in the directions given to the patient.”9 As a result of these facts, the Government

alleges that Kraynak did not issue prescriptions to certain individuals “for legitimate

medical purposes and in the usual course of professional practice” but, instead, acted

as a drug trafficker during those encounters.10

        Kraynak has now filed five pretrial motions. First, he seeks to sever the counts

and hold separate trials on many of the individual charges.11 Second, he asks to strike

what he asserts is surplusage in the indictment.12 Third, he requests disclosure of any

electronic or other undercover surveillance of Kraynak or his former business.13

Fourth, Kraynak seeks the disclosure of any rough notes or recordings that officers


7
     Id. at 7-8.
8
     Id. at 13-15.
9
     Doc. 126 at 3.
10
     Id. at 2.
11
     Doc. 106.
12
     Doc. 108.
13
     Doc. 110.
                                            3
          Case 4:17-cr-00403-MWB Document 146 Filed 07/20/21 Page 4 of 25




gathered during witness interviews.14 Finally, he moves for a bill of particulars.15

The Government opposes Kraynak’s pretrial motions.16

II.      DISCUSSION

         A.      Motion to Sever Offenses

         First, Kraynak argues that the charges should be severed as they relate to

different alleged victims. Kraynak asserts that he will suffer undue prejudice if the

counts remain joined, as there is a “substantial” risk of prejudice due to the danger

that “multiple counts will function as character evidence for each of the other counts,

persuading the jury that Dr. Kraynak has a propensity to commit the crimes charged”

and “that the jury will believe that if one patient’s prescription was outside the

normal course of practice and without a legitimate purpose, then all the prescriptions

must be similarly fatally flawed.”17

         The Government in turn argues that there is no clear and substantial evidence

of prejudice sufficient to support severance, particularly since (1) a jury may easily

distinguish between the evidence relevant to each count; (2) the evidence for each

count would be admissible at separate trials; and (3) any potential prejudice could

be mitigated by appropriate jury instructions.18



14
      Doc. 112.
15
      Doc. 114.
16
      Docs. 122, 123, 125, 126, 129.
17
      Doc. 107 at 4; see id. at 2-4. Kraynak does not assert that the charges have been improperly
      joined.
18
      Doc. 126.
                                                  4
         Case 4:17-cr-00403-MWB Document 146 Filed 07/20/21 Page 5 of 25




        Under Federal Rule of Criminal Procedure 8(a), an “indictment or information

may charge a defendant in separate counts with 2 or more offenses if the offenses

charged—whether felonies or misdemeanors or both—are of the same or similar

character, or are based on the same act or transaction, or are connected with or

constitute parts of a common scheme or plan.” Pursuant to Federal Rule of Criminal

Procedure 14(a), however, “[i]f the joinder of offenses . . . in an indictment, an

information, or a consolidation for trial appears to prejudice a defendant or the

government, the court may order separate trials of counts, sever the defendants’

trials, or provide any other relief that justice requires.”

        “The district court, in exercising its discretion [under Rule 14], balances the

potential prejudice to the defendant against the advantages of joinder in terms of

judicial economy.”19 Rule 14 “places the burden of showing prejudice from the

joinder on the defendant seeking severance,”20 who “must demonstrate clear and

substantial prejudice.”21 As this Court has previously held, “there is a presumption

against severance because it is assumed that closely related charges are being tried




19
     United States v. Sandini, 888 F.2d 300, 305 (3d Cir. 1989).
20
     United States v. Eufrasio, 935 F.2d 553, 568 (3d Cir. 1991).
21
     United States v. Gorecki, 813 F.2d 40, 43 (3d Cir. 1987) (internal quotation marks and citation
     omitted).
                                                  5
         Case 4:17-cr-00403-MWB Document 146 Filed 07/20/21 Page 6 of 25




together.”22 Accordingly, “Defendants bear a ‘heavy burden’ when moving for

severance under Rule 14.”23

        Under that standard, “[m]ere allegations of prejudice are not enough; and it is

not sufficient simply to establish that severance would improve the defendant’s

chance of acquittal . . . [r]ather, [the defendant] must demonstrate clear and

substantial prejudice resulting in a manifestly unfair trial.”24 “This is a ‘stringent

requirement,’ necessitating a specific showing of how a single trial on all counts

would prejudice a defendant.”25 When a “jury could easily compartmentalize the

evidence on each respective count by considering each incident separately,”26 or

when “a case is relatively straightforward and discrete, not involving overly

technical or scientific issues, clear and substantial prejudice does not exist, and

severance is not required.”27 “Similarly, if evidence relating to one set of charges

would be admissible in a separate trial on the other set of charges, severance is not

required.”28




22
     United States v. Thompson, 219 F. Supp. 3d 502, 506 (M.D. Pa. 2016) (brackets and internal
     quotation marks omitted).
23
     United States v. Askew, No. 4:17-CR-00291, 2019 WL 1531986, at *4 (M.D. Pa. Apr. 9, 2019)
     (internal quotation marks omitted).
24
     United States v. Reicherter, 647 F.2d 397, 400 (3d Cir. 1981).
25
     United States v. Hill, No. 3:17-CR-00276, 2019 WL 2110573, at *4 (M.D. Pa. May 14, 2019)
     (quoting Gorecki, 813 F.2d at 43 (brackets omitted)).
26
     United States v. Green, 563 F. App’x 913, 918 (3d Cir. 2014).
27
     Hill, 2019 WL 2110573, at *4 (internal quotation marks omitted). See also United States v.
     Davis, 397 F.3d 173, 182 (3d Cir. 2005) (focusing prejudice inquiry in part on whether “there
     are [any] overly technical or scientific issues”).
28
     Hill, 2019 WL 2110573, at *4.
                                                 6
        Case 4:17-cr-00403-MWB Document 146 Filed 07/20/21 Page 7 of 25




        Judged under this standard, the Court concludes that Kraynak has failed to

demonstrate the existence of clear and substantial prejudice. First, a “jury could

easily compartmentalize the evidence on each respective count by considering each

incident[s] separately,”29 which weighs against severance. As the Government

accurately notes, the information that is relevant to each of the counts is generally

separate and distinct; each count will be supported primarily by each alleged victim’s

individual pharmacy records, medical records, and prescription monitoring reports

(“PMR”).30 Moreover, the Government proffers that its expert witness will focus

significantly on the prescription activity and evidence as it relates to each individual

victim, and will only broadly address the patient files as a whole to explain why

Kraynak’s prescription practices were not in accordance with professional

standards.31

        Second, the Court concludes that the evidence from each individual count

would largely be admissible in hypothetical separate trials. The majority of the

evidence that relates to patient medical records, prescription records, and PMRs—

although separate and largely unique to each patient—would be admissible in

separate trials because such information is critical for the Government to establish

that Kraynak’s prescriptions were not in accordance with standard professional


29
     Green, 563 F. App’x at 918.
30
     Doc. 126 at 8-9. The Government explains that PMRs “contain prescription data for all
     Schedule II controlled substances dispensed by pharmacies in the Commonwealth of
     Pennsylvania.” Id. at 3.
31
     Id. at 8-9.
                                             7
         Case 4:17-cr-00403-MWB Document 146 Filed 07/20/21 Page 8 of 25




practice and lacked a legitimate medical purpose. This conclusion is supported by

numerous circuit court cases, most notably one arising from the United States Court

of Appeals for the Eleventh Circuit.

        In United States v. Merrill, the Eleventh Circuit considered whether the

district court erred in admitting “more than 33,000 prescriptions for controlled

substances [relating to both charged and uncharged conduct] . . . and a chart

summarizing these prescriptions” in the prosecution of a doctor for Medicaid fraud

and dispensing controlled substances in violation of the Controlled Substances Act.32

That court determined that the evidence of prescriptions “was relevant and that its

probative value was not outweighed by its potential for prejudice.”33 The Eleventh

Circuit noted that controlled substances may be prescribed “only in the usual course

of professional practice and for a legitimate medical purpose” and that the defendant

“claimed that he had not violated the Controlled Substances Act because all his

controlled substance prescriptions were made in good faith and for legitimate

medical purposes.”34

        The court concluded that the prescription evidence and summary were

relevant to the charges for three reasons. “First, the Government could only prove

[the prescription of] ‘excessive and inappropriate quantities and combinations’ [of

controlled substances] by presenting evidence on the quantities and combinations


32
     513 F.3d 1293, 1300 (11th Cir. 2008).
33
     Id. at 1301.
34
     Id. at 1301-02.
                                             8
         Case 4:17-cr-00403-MWB Document 146 Filed 07/20/21 Page 9 of 25




themselves and then comparing those quantities and combinations to a relevant norm

to show that they were excessive and inappropriate.”35 Second, the prescription

records “raised an inference of excessiveness and impropriety. The summary

revealed that patients were coming in for visits less than two weeks apart to receive

maximum dose prescriptions of the same drug,” which an expert had testified was

highly inappropriate.36 Finally, the court concluded that “the number of drugs being

prescribed to each patient and the combination of drugs being prescribed to each

patient raised an inference of inappropriate and excessive conduct” because some of

the drugs had the same pharmacological effect, and “some of the patients were

prescribed up to seven or eight drugs on the same day,” which raised significant

concerns of unexpected side effects and complications.37

        Similarly, here, an evaluation of Kraynak’s prescription practices as a whole

is important to evaluate whether his prescriptions to each individual patient were

appropriate, or whether those prescriptions were outside the norm of professional

conduct. The presentation of those patient files is likewise necessary for the jury to

evaluate whether Kraynak’s medical records as a whole—and thus his prescription

practices—were outside the usual course of professional practice.38 As the



35
     Id. at 1302.
36
     Id.
37
     Id. at 1302-03.
38
     This information is important for a jury to evaluate, for example, whether Kraynak’s record
     keeping patterns were deliberate, or whether only a small number of files were incomplete due
     to lost or missing records, or even inadvertence or oversight.
                                                  9
        Case 4:17-cr-00403-MWB Document 146 Filed 07/20/21 Page 10 of 25




Government’s expert witness explained, the patient files are critical because they

“distinguish[] the practice of medicine from drug dealing. Absent medical

documentation, in my opinion, the dispensing of controlled substances in type and

amounts requested by patients because patients report satisfaction with the drugs is

no different than any other form of drug dealing.”39

        And here too the number and combination of drugs being prescribed to each

patient raises an inference of inappropriate and excessive prescriptions, as some of

the controlled substances have similar pharmacological effects and, because many

of those drugs were opioids, the combinations of those prescriptions “greatly”

increased the risk of overdose for those patients.40 As the United States Court of

Appeals for the Ninth Circuit has concluded, “uncharged prescriptions of controlled

substances in enormous quantities, and in dangerous combinations, support a

reasonable inference that the underlying prescriptions were issued outside the usual

course of professional practice and without a legitimate medical purpose”41 and all

medical records would thus be admissible in hypothetical individual trials.42




39
     Doc. 60 at 5.
40
     Doc. 60 at 3-4.
41
     United States v. Lague, 971 F.3d 1032, 1040 (9th Cir. 2020), cert. denied, 141 S. Ct. 1695
     (2021).
42
     In much the same way, those medical records would be admissible in cases related to
     allegations that he maintained drug-involved premises, as they are relevant to determine
     whether Kraynak’s prescription practices were outside the usual course of professional practice
     and without a legitimate medical purpose and, consequently, that the activities that occurred in
     those premises violated the Controlled Substances Act.
                                                10
        Case 4:17-cr-00403-MWB Document 146 Filed 07/20/21 Page 11 of 25




        Third, while there may be some attendant prejudice from the presentation of

multiple patient medical records, prescription records, and PMRs in one trial, any

prejudice may be contained with adequate limiting instructions.43 The Court will

instruct the jury that separate consideration must be given to each count, and that its

conclusion of guilt or innocence with respect to one count must not influence its

determination with respect to any other count. Furthermore, the Court would

consider issuing any specific limiting instructions requested by Kraynak.

Accordingly, the Court cannot conclude that there is evidence of clear and

substantial prejudice, or that any potential prejudice outweighs the judicial

economies that would be realized from conducting a single trial, rather than twelve

or more separate trials. Kraynak’s motion to sever will therefore be denied.

        B.      Motion to Strike Surplusage in Indictment

        Next, Kraynak argues that the majority of the language contained in the

indictment is both irrelevant or immaterial and prejudicial, and therefore should be

stricken.44 Specifically, Kraynak contends that information related to the schedules

of the Controlled Substance Act and other laws, discussion of evidence that the

Government intends to introduce at trial, and paragraphs related to Kraynak’s



43
     See Lague, 971 F.3d at 1042 (holding that appropriate instructions “mitigated the prejudice of
     admitting the ‘other act’ evidence” related to prescriptions for individuals not charged in that
     case); Askew, 2019 WL 1531986, at *4 (noting that any alleged prejudice “will be
     appropriately minimized and balanced by the standard Third Circuit model criminal jury
     instructions 3.12 through 3.15”).
44
     Doc. 109.
                                                  11
        Case 4:17-cr-00403-MWB Document 146 Filed 07/20/21 Page 12 of 25




prescription practices and patient medical records should be stricken from the

indictment.45

        The Government in turn argues that the challenged paragraphs provide

information relevant to understanding the charges and their elements.46 For example,

many of the paragraphs detail Kraynak’s knowledge of the regulations that were

applicable to his conduct and how Kraynak’s conduct departed from those

requirements, and many of the paragraphs detail the applicable statutes and

regulations that are necessary to understand the underlying charges.47 Moreover, the

Government contends that Kraynak will not suffer any prejudice from the inclusion

of the challenged paragraphs, and any risk of prejudice will be eliminated by

appropriate jury instructions.48

        “An indictment must contain ‘the elements of the offense charged’ and enable

the defendant ‘to plead an acquittal or conviction in bar of future prosecutions for

the same offense.’”49 “‘As long as the crime and the elements of the offense that

sustain the conviction are fully and clearly set out in the indictment, the right to a

grand jury is not normally violated by the fact that the indictment alleges more

crimes or other means of committing the same crime.’”50


45
     Id.
46
     Doc. 125.
47
     Id. at 7-9.
48
     Id. at 11-13.
49
     United States v. Hedgepeth, 434 F.3d 609, 612 (3d Cir. 2006) (quoting Hamling v. United
     States, 418 U.S. 87, 117 (1974)).
50
     Id. (quoting United States v. Miller, 471 U.S. 130, 136 (1985)).
                                             12
        Case 4:17-cr-00403-MWB Document 146 Filed 07/20/21 Page 13 of 25




        Nevertheless, Federal Rule of Criminal Procedure 7(d) provides that, upon

motion of a defendant, “the court may strike surplusage from the indictment or

information.” The purpose of this rule is to protect “the defendant against immaterial

or irrelevant allegations in an indictment or information, which may . . . be

prejudicial.”51 While motions to strike surplusage are rarely granted, “the court may

strike surplusage from the indictment or information when it is both irrelevant (or

immaterial) and prejudicial.”52 As the United States Court of Appeals for the Third

Circuit has explained:

        Logic demands the conjunctive standard: information that is
        prejudicial, yet relevant to the indictment, must be included for any
        future conviction to stand and information that is irrelevant need not be
        struck if there is no evidence that the defendant was prejudiced by its
        inclusion.53

        The Court concludes that the challenged paragraphs need not be stricken from

the indictment for two reasons. First, those paragraphs are relevant and material.

Paragraphs two through five of the indictment describe previous administrative

actions that were taken against Kraynak with respect to his prescription practices

and patient records—in particular, his issuance of large quantities of controlled

substances to patients and his failure properly record his interactions with those

patients or to properly justify the prescription of those controlled substances.54



51
     Fed. R. Crim. P. 7(d) Advisory Committee’s Note.
52
     Hedgepeth, 434 F.3d at 612.
53
     Id.
54
     Doc. 3 at 1-4.
                                              13
        Case 4:17-cr-00403-MWB Document 146 Filed 07/20/21 Page 14 of 25




According to the indictment, the Board ultimately issued an order finding that

Kraynak had departed from, and failed to conform to, relevant standards or

acceptable practices with regard to the prescription of controlled substances.55 These

paragraphs are directly relevant to the question of whether Kraynak issued

prescriptions for a legitimate medical purpose and in the usual course of his

professional practice,56 which is a key element to the offense of distribution of a

controlled substance by a medical professional.57 These paragraphs thus not only

“fairly inform[ Kraynak] of the charge against which he must defend, . . . [but also]

enable[] him to plead an acquittal or conviction in bar of future prosecutions for the

same offense.”58

         Similarly, paragraphs nine through eleven detail Pennsylvania’s PMR system

and the quantity of pills that Kraynak prescribed,59 which is relevant to assertions

that the prescriptions were excessive and not issued for a legitimate medical purpose




55
     Id. at 3.
56
     As explained previously, this deviation from the norms of the practice is important to the
     Government’s case as the deviations make it impossible, in the view of the Government’s
     expert, to distinguish Kraynak’s actions from “any other form of drug dealing.” Doc. 60 at 5.
57
     See 21 C.F.R. § 1306.04(a) (noting that “[a] prescription for a controlled substance to be
     effective must be issued for a legitimate medical purpose by an individual practitioner acting
     in the usual course of his professional practice . . . [and a]n order purporting to be a prescription
     issued not in the usual course of professional treatment . . . is not a prescription within the
     meaning and intent of section 309 of the Act (21 U.S.C. 829) and the person knowingly filling
     such a purported prescription, as well as the person issuing it, shall be subject to the penalties
     provided for violations of the provisions of law relating to controlled substances”).
58
     United States v. Resendiz-Ponce, 549 U.S. 102, 108 (2007).
59
     Doc. 3 at 7-8.
                                                   14
        Case 4:17-cr-00403-MWB Document 146 Filed 07/20/21 Page 15 of 25




and in the usual course of professional practice.60 And paragraphs twenty and

twenty-one provide specific ways in which the Government alleges that Kraynak

distributed controlled substances in a manner that was not for a legitimate medical

purpose and in the usual course of his professional practice. These paragraphs

collectively aid Kraynak in understanding the charges against him and in fashioning

a defense against those charges.

        Paragraphs six through eight of the indictment describe the various schedules

of controlled substances, their potential for abuse, and their effects on the human

body.61 Paragraphs twelve through seventeen review the statutory definitions

provided in the Controlled Substances Act that may apply to Kraynak’s

prosecution.62 These paragraphs provide further detail as to the elements of the

crimes with which Kraynak has been charged.

        Finally, paragraphs eighteen and nineteen detail the Pennsylvania Code of

Professional and Vocational Standards, which set forth the standards that are

applicable to medical professionals who prescribe controlled substances in

Pennsylvania.63 Those paragraphs discuss in detail: how a physician must examine

a patient and the medical history that a physician must take from that patient; the


60
     See Lague, 971 F.3d at 1040 (holding that “prescriptions of controlled substances in enormous
     quantities, and in dangerous combinations, support a reasonable inference that the underlying
     prescriptions were issued outside the usual course of professional practice and without a
     legitimate medical purpose”).
61
     Id. at 4-7.
62
     Id. at 8-10.
63
     Id. at 10-13.
                                                15
        Case 4:17-cr-00403-MWB Document 146 Filed 07/20/21 Page 16 of 25




consistent reevaluations that must be performed for continued prescription of a

controlled substance; counseling that must be provided to the patients; and,

importantly, the information that a doctor must place into a patient’s medical records

when a controlled substance is prescribed.64 Those paragraphs also outline that

physicians must maintain patient records for at least seven years.65 Collectively, this

information is directly relevant to the question of whether Kraynak knew that the

prescriptions he issued were not for a legitimate medical purpose and in the usual

course of his professional practice, as this information makes clear that Kraynak was

required to keep certain records but, as alleged by the Government, failed to so

maintain those records. This provides Kraynak with notice that the Government will

assert that Kraynak’s failure to maintain patient records is a significant part of the

case against him and, again, permits Kraynak to mount a proper defense.

        Second, beyond the relevance of the challenged paragraphs, there is little

prejudice that could result from the paragraphs remaining in the indictment.

Although most of Kraynak’s allegations of prejudice are somewhat conclusory, he

asserts that the discussion of Pennsylvania law in paragraphs eighteen and nineteen

would confuse the jury and prejudice him.66 The Court respectfully disagrees. As

discussed previously, the standards detailed in those paragraphs will be important

benchmarks for the jury to use to evaluate whether Kraynak’s failure to maintain


64
     Id.
65
     Id. at 13.
66
     Doc. 132.
                                          16
        Case 4:17-cr-00403-MWB Document 146 Filed 07/20/21 Page 17 of 25




patient medical records rendered unlawful the prescriptions that he issued. Although

there is a small chance of jury confusion, any risk of confusion or prejudice will be

mitigated by the Court’s closing instructions, wherein the Court will advise the jury

that the indictment is not evidence, and that the jury must solely follow the law as

explained by the Court. Accordingly, the Court concludes that Kraynak has failed to

sustain his burden of proving that the language contained in the indictment is both

immaterial or irrelevant and prejudicial, and Kraynak’s motion for disclosure will

be denied.

        C.     Motion to Disclose Surveillance Evidence

        Next, Kraynak seeks the disclosure of any electronic wiretaps or other

undercover surveillance that the Government obtained in this case.67 Although the

Government disputes that it is required to turn over any such evidence under the laws

that Kraynak has cited,68 it represents that “[t]he United States has not gathered and

is not in possession of any intercepted wire, oral or electronic communications of

the defendant or of anyone else on the defendant’s premises.”69 Because there is no

surveillance for the Government to disclose, the Court is not “able to grant the

requested relief” and Kraynak’s motion will be denied as moot.70




67
     Docs. 110, 11.
68
     Doc. 123.
69
     Id. at 1.
70
     Hamilton v. Bromley, 862 F.3d 329, 335 (3d Cir. 2017).
                                               17
        Case 4:17-cr-00403-MWB Document 146 Filed 07/20/21 Page 18 of 25




        D.     Motion to Disclose Rough Notes and Recordings

        Kraynak next seeks the disclosure of rough notes or recordings of interviews

of witnesses who will testify at trial.71 Kraynak asserts that such evidence is material

to his defense, as the Government may use those materials “to corroborate and

refresh [witness] recollection[s] at trial.”72 The Government contends that the

information that Kraynak requests is not discoverable until after the witnesses have

testified, and Kraynak’s motion should therefore be denied.73

        Federal law provides that in any criminal case, “no statement or report in the

possession of the United States which was made by a Government witness or

prospective Government witness (other than the defendant) shall be the subject of

subp[o]ena, discovery, or inspection until said witness has testified on direct

examination in the trial of the case.”74 This is echoed by Federal Rule of Criminal

Procedure 26.2(a), which similarly provides that, after a witness—other than the

defendant—has testified on direct examination, upon appropriate motion a court

“must order an attorney for the government . . . to produce, for the examination and

use of the moving party, any statement of the witness that is in their possession and

that relates to the subject matter of the witness’s testimony.” The Third Circuit has

observed that “[t]he blunt command of the statute together with the unequivocal



71
     Doc. 112.
72
     Doc. 113 at 2.
73
     Doc. 129.
74
     18 U.S.C. § 3500(a).
                                          18
        Case 4:17-cr-00403-MWB Document 146 Filed 07/20/21 Page 19 of 25




legislative history has led to unbroken precedent in the Courts of Appeals denying

to district courts the power to compel production of the statements of government

witnesses until conclusion of direct examination at the trial.”75

        Although Kraynak relies on Federal Rule of Criminal Procedure 16 in

furtherance of his request, that Rule does not supersede Rule 26.2. To the contrary,

except in limited circumstances not applicable here, Rule 16 does not “authorize the

discovery or inspection of statements made by prospective government witnesses

except as provided in 18 U.S.C. § 3500.”76 While district courts have limited

discretion to authorize disclosure of witness statements prior to the applicable

deadline, “the defendant must [set forth] a particularized need for such

information.”77

        The Court concludes that Kraynak is not entitled to production of any notes

or recordings of witness interviews at this time. As 18 U.S.C. § 3500 makes clear,

Kraynak is not entitled to production of the requested materials until after the

witnesses testify, and he has not demonstrated a particularized need for those

materials prior thereto. Moreover, the Government assures the Court that it “will

preserve the agents’ rough notes and recordings of interviews if there were any

generated,”78 which eliminates any concern that the requested documents will not be


75
     United States v. Murphy, 569 F.2d 771, 773 (3d Cir. 1978).
76
     Fed. R. Crim. P. 16(a)(2).
77
     United States v. Buckner, No. 3:18-CR-00349, 2020 WL 211403, at *5 (M.D. Pa. Jan. 13,
     2020).
78
     Doc. 129 at 7.
                                               19
        Case 4:17-cr-00403-MWB Document 146 Filed 07/20/21 Page 20 of 25




produced at the appropriate time. Accordingly, except to the extent that any rough

notes or recordings of witness interviews must be produced in accordance with

Brady v. Maryland,79 Kraynak’s motion for production of such documents will be

denied without prejudice to his right to refile this motion at the appropriate time.

        E.     Motion for Bill of Particulars

        Finally, Kraynak moves for a bill of particulars, asserting that the information

contained in the indictment is insufficient to permit him to mount an effective

defense.80 Specifically, Kraynak requests a list of: (1) any overt acts upon which the

Government may rely at trial; (2) the quantities and type of drugs allegedly

distributed, and to whom those drugs were distributed, along with “all other doctors

prescribing to all such persons, including when and quantity”; (3) information

regarding the pharmacists who dispensed controlled substances to the alleged

victims; (4) information from the Pennsylvania Controlled Substances Reporting

System as to each potential witness; (5) detailed information regarding which of the

sixteen practices listed in paragraph twenty of the indictment apply to which of the

twelve alleged victims; and (6) information regarding the forfeiture allegations

contained in the indictment.81

        The Government argues that the information sought is not appropriately

subject to a bill of particulars but, instead, constitute discovery requests and requests


79
     373 U.S. 83 (1963).
80
     Docs. 114, 115.
81
     Doc. 114.
                                           20
        Case 4:17-cr-00403-MWB Document 146 Filed 07/20/21 Page 21 of 25




that seek for the Government to reveal its theory of the case.82 Because the

indictment supplies sufficient information and the Government has provided

extensive discovery, the Government asserts that a bill of particulars is not

warranted.83

        Federal Rule of Criminal Procedure 7(f) grants district courts the discretion to

direct the Government to file a bill of particulars. A bill of particulars may be

warranted if “the indictment itself is too vague and indefinite” to “adequately apprise

the defendant of what he must be prepared to meet.”84 “The purpose of the bill of

particulars is to inform the defendant of the nature of the charges brought against

him to adequately prepare his defense, to avoid surprise during the trial and to protect

him against a second prosecution for an inadequately described offense.”85

        “A bill of particulars, unlike discovery, is not intended to provide the

defendant with the fruits of the government’s investigation. Rather, it is intended to

give the defendant only that minimum amount of information necessary to permit

the defendant to conduct his own investigation.”86 Accordingly, the Government is

not required to “weave the information at its command into the warp of a fully

integrated trial theory for the benefit of the defendant” or to “include every fact to




82
     Doc. 122.
83
     Id.
84
     United States v. Moyer, 674 F.3d 192, 203 (3d Cir. 2012) (internal quotation marks omitted).
85
     Id. (internal quotation marks omitted).
86
     United States v. Smith, 776 F.2d 1104, 1111 (3d Cir. 1985) (internal citations omitted).
                                                21
        Case 4:17-cr-00403-MWB Document 146 Filed 07/20/21 Page 22 of 25




be alleged by the government.”87 Stated differently, “[t]he defendant’s constitutional

right is to know the offense with which he is charged, not to know the details of how

it will be proved.”88 Moreover, “access to . . . [f]ull discovery . . . obviates the need

for a bill of particulars.”89

        A bill of particulars is not warranted in this case, as the indictment is not so

vague as to fail to apprise Kraynak of the charges against him. With respect to the

distribution charges alleged in Counts 1 through 12, the Government must prove

four elements: (1) that Kraynak distributed a mixture or substance containing a

controlled substance; (2) that he distributed the controlled substance outside the

usual course of professional practice and not for a legitimate medical purpose; (3)

that he distributed the controlled substance while knowing or intending that the

distribution was outside the usual course of professional practice and not for a

legitimate medical purpose; and (4) that the controlled substance was the substance

identified in the indictment.90

        The indictment provides sufficient information as to those elements. It details

the Government’s assertion that Kraynak knew of the relevant professional standards

applicable to the prescription of controlled substances based on prior administrative




87
     Moyer, 674 F.3d at 203 (internal quotation marks omitted).
88
     United States v. Kendall, 665 F.2d 126, 135 (7th Cir. 1981).
89
     United States v. Urban, 404 F.3d 754, 772 (3d Cir. 2005).
90
     Third Cir. Model Crim. Jury Instruction 6.21.841B; United States v. Rottschaefer, 178 F.
     App’x 145, 147 (3d Cir. 2006).
                                                22
        Case 4:17-cr-00403-MWB Document 146 Filed 07/20/21 Page 23 of 25




proceedings and explains what those standards are.91 The indictment further details

ways in which Kraynak allegedly failed to comply with those professional standards,

rendering illegal his conduct in prescribing the identified opioids.92 These

paragraphs collectively give notice to Kraynak that he allegedly distributed a

mixture or substance containing a controlled substance, which was done knowing

that such distribution was outside the usual course of professional practice and not

for a legitimate medical purpose. The indictment lists the individuals associated with

each of the twelve counts, along with the substances prescribed to each patients and

the approximate dates of the alleged distribution.93 Finally, the indictment lists some

quantities and types of opioids that Kraynak prescribed in general.94 These

paragraphs give Kraynak notice of the specific substances that he is alleged to have

distributed, along with sufficient information to identify the specifics of those

allegations and defend against them.

        With regard to Counts 13 through 17, alleging distribution of a controlled

substance resulting in death, the elements are the same as those discussed above with

respect to Counts 1 through 12, except that those counts contain the additional

element that death resulted from the use of those controlled substances.95 The




91
     Doc. 3 at 1-13.
92
     Id. at 13-15.
93
     Id. at 16-17.
94
     Id. at 7-8.
95
     Burrage v. United States, 571 U.S. 204, 210 (2014).
                                                23
         Case 4:17-cr-00403-MWB Document 146 Filed 07/20/21 Page 24 of 25




indictment sufficiently alleges that element of the offense.96 Additionally, through

discovery the Government has provided an expert report that sets forth exactly how

the Government maintains that prescriptions issued by Kraynak resulted in the death

of the alleged victims, and a bill of particulars is thus not warranted as to those

counts.97

         Finally, as to Counts 18 and 19, the Government must prove that Kraynak

“‘(1) knowingly exercising some degree of control over the premises; (2) knowingly

making the place available for the use alleged in the indictment; and (3) continuity

in pursuing the manufacture, distribution, or use of controlled substances.’”98 The

indictment adequately alleges these elements, as it alleges that Kraynak opened and

maintained certain premises and knowingly used those locations to distribute

controlled substances outside of the usual course of professional practice and

without a legitimate medical purpose.99

         The indictment thus “adequately apprise[s] the defendant of what he must be

prepared to meet” at trial100 and provides him with sufficient information “to permit

[him] to conduct his own investigation.”101 The additional information that Kraynak

requests is more akin to a discovery request wherein he seeks “the details of how


96
      Doc. 3 at 18-19.
97
      Doc. 60.
98
      United States v. Elmore, 586 F. App’x 559, 561 (11th Cir. 2014) (quoting United States v.
      Clavis, 956 F.2d 1079, 1090 (11th Cir. 1992))).
99
      Doc. 3 at 20-21.
100
      Moyer, 674 F.3d at 203 (internal quotation marks omitted).
101
      Smith, 776 F.2d at 1111 (internal citations omitted).
                                                   24
         Case 4:17-cr-00403-MWB Document 146 Filed 07/20/21 Page 25 of 25




[the Government’s case] will be proved,” which is not a proper use for a bill of

particulars.102 Consequently, Kraynak’s motion will be denied.

III.     CONCLUSION

         For the foregoing reasons, the Court concludes that Kraynak’s pretrial

motions are without merit, and those motions will be denied.

         An appropriate Order follows.


                                              BY THE COURT:


                                              s/ Matthew W. Brann
                                              Matthew W. Brann
                                              United States District Judge




102
      Kendall, 665 F.2d at 135.
                                         25
